          Case 1:19-mj-00260-IDD Document 11 Filed 06/06/19 Page 1 of 1 PageID# 19


AO 470 (Rev.01/09) Order Scheduling a Detention Hearing



                                     United States District Court                                             I;                ; '
                                                                     for the                                                   ii j
                                                          Eastern District of Virginia                 ; I »a»l-62019 j l
                  United States of America
                                V.
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                                                                               Case No. 1:19-mj-260
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                                                                                                        iC. ■ i'C-h'STi'-iiCT  . j i
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                    Brian Patrick Baynes

                            Defendant

                                        ORDER SCHEDULING A DETENTION HEARING



          A detention hearing in this case is scheduled as follows:

Place: United States District Court                                            Courtroom No.:
       401 Courthouse Square
         Alexandria, VA 22314                                                  Date and Time: lo\l\\,^ Ojt"'2.9rrN
       IT IS ORDERED; Pending the hearing, the defendant is to be detained in the custody ofthe United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:          06/06/2019                                                                A egg
                                                                                                 Ivan D. Davis
                                                                                         United States Magistrate Judge
